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   Target

   PG01

   Servers.ru

   Alexey Gubarev

   P-F000028

   PG02

   CEO

   Who are we?

   Servers.ru is the first international hosting provider with a data center in Russia

   P-F000029

   PG03

   Data centers

   Storing data where it should be

   Dallas

   SSAE 15 certification

   ISO

   ISO 27001: 2013

   PCI DSS

   Saint Petersburg

   Tier IV certification

   ISO 9001: 2008

   ISO 27001 2013

   PCI DSS

   Moscow

   Tier III certification

   ISO 9001: 2008

   ISO 27001.2013

   PCI DSS

   Singapore
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   Launch in 201.

   Hyderabad

   Launch in 201.

   P-F000030

   PG04

   Reliable infrastructure partners

   Leading Internet providers connect our data centers to your customers anywhere in the world

   Modern network equipment

   Our routers allow us to use advanced network solutions

              Software-controlled network

              L3 ʳˀ factory

   P-F000031

   PG04

   The most powerful hardware in Russia

   13th generation Dell servers in all data centers

   Reliable, powerful and requiring minimum maintenance

   The fastest network in Russia

   P-F000032

   PG06

   Conventional hosting provider

   Maximum speed

   Connectivity

   Traffic

   40 Gbit/s

   Free at 1 Gb/s

   Unlimited

   1 Gbit/s

   Speed 100 Mbit/s
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   Traffic restrictions

   Uncharged private network

           Direct connection between Moscow, Dallas, Amsterdam and Hyderabad

           Isolation of internal traffic at the hardware level

           The ability to combine dedicated and cloud servers into a hybrid platform with 1 click

   P-F000033

   PG07

   Redundancy of all critical nodes

   Availability

   99,997%

   P-F000034

   PG08

   Secure infrastructure

           Traffic is isolated at the hardware and software level

           Two-factor authentication

   Deployment in 40 minutes

   No calls - a few clicks and your dedicated server is ready to go

   P-F000035

   PG09

   Built-in performance checks

           HTTP, TCP, ICP

           E-mail and SMS notifications

           Automatic DNS switching

   P-F000036

   PG10

   Support service free from routine operations

           Only ticket processing

           Russian support in all locations

   Good afternoon! Can I get 10 IP in addition to 64 assigned? Server webs 844
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   Hello, Dibble ζ 10. Sincerely, yours̳e.g.

   Smart Services

   We are constantly introducing new services to make our services better, and the lives of our customers -
   more comfortable

   ˆIChS-console in browser

   Failover DNS

   Data replication between DC with 1 click

   P-F000037

   PG11

   Price list

   Dedicated Servers

            Starting from 8900 RUBLES

            Free unlimited 1 Gb/s

            Deployment in 40 minutes

   Cloud Servers

            Prices from 500 RUBLES

            Only 350

   Other and Cloud servers in one physical network

   P-F000038

   PG12

   Paying for foreign capacities

   A.       Payment in rubles at the exchange rate on the day of purchase

   B.       Prices for capacities in Europe are recalculated from Euros

   C.       Prices for capacities in the US are calculated in dollars

   P-F000039

   PG13

   Thank you!

   Contacts

   +7 (495) 748-79-57
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   sales@servers.ru

   P-F000040
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